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                                 123144



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                  MDL No. 2570




This Document Relates to Plaintiff(s)                            Plaintiff Demands a Trial by Jury

Brenda I. Melendez

Civil Case # 1:21-cv-06407-RLY-TAB


            MOTION FOR LEAVE TO AMEND SHORT FORM COMPLAINT

       Pursuant to Rule 15 of Federal Rules of Civil Procedure, Plaintiff moves this Court to

amend her Short Form Complaint in the above-captioned action and, in support, states as follows:

       1.      A party may amend her pleading by leave of the Court, and “[t]he court shall

freely give leave when justice so requires” Fed. R. Civ. P. 15(a).

       2.      A party may amend the pleadings as may be necessary and “at any time” “to

conform them to the evidence” Fed. R. Civ. P. 15(b).

       3.      Plaintiff requests leave to amend the pleadings to conform them to the evidence.

       4.      Plaintiff specifically requests leave to amend her complaint to indicate the correct

date of implant of her Cook IVC filter.

       5.      The proposed Amended Short Form Complaint is attached as Exhibit A.
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                              Respectfully submitted,



                                     /s/ Paul L. Stoller
                                     Paul L. Stoller
                                     (Admitted Pro Hac Vice, AZ Bar No. 016773)
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                                     Lead Counsel for Plaintiff

Dated: August 30, 2021
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                                CERTIFICATE OF SERVICE

        I certify that on August 30, 2021, the foregoing was filed electronically and notice of the
filing accordingly will be sent to all required parties by operation of the Court.



                                      /s/Paul L. Stoller
                                      Paul L. Stoller
